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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


ZAIDA HICKS and STEPHANIE VARGAS
individually and on behalf of all others                 Civil Action No.:
similarly situated,

        Plaintiffs,                                      COMPLAINT FOR DAMAGES
v.

L’OREAL USA, INC.,
                                                         DEMAND FOR JURY TRIAL
        Defendant.



       Plaintiffs Zaida Hicks and Stephanie Vargas on behalf of themselves and all others

similarly situated, file this class action complaint against Defendant L’Oreal USA, Inc. On

personal knowledge of their own circumstances and upon investigation and information and belief

of their counsel, Plaintiffs allege the following:

                                 JURISDICTION AND VENUE

       1.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d)(2) because this civil action is a class action in which the matter in controversy exceeds

$5,000,000 exclusive of interest and costs, and members of the putative class are citizens of a state

that is different than the state of which Defendant is a citizen.

       2.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to Plaintiffs’ and the Class Members’ claims occurred

in this District, and Defendant is subject to the Court’s personal jurisdiction.

       3.       Defendant maintains its corporate headquarters in New York, where it directed the

activities of designing, developing, advertising, selling, and distributing the cosmetic products

described herein to consumers throughout New York, either directly or indirectly through third

parties or related entities. Defendant obtained the benefits of New York law and profited from

New York commerce.




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                                             PARTIES

        4.       Plaintiff Zaida Hicks resides in New York, as she did at all relevant times during

the conduct alleged in this Complaint.

        5.       Plaintiff Stephanie Vargas resides in New York, as she did at all relevant times

during the conduct alleged in this Complaint.

        6.       Defendant L’Oreal USA, Inc. is a Delaware corporation with a principal place of

business in New York, New York. At all times relevant to this Complaint, L’Oreal USA, Inc. has

transacted business in this judicial district and throughout the United States, including in New

York.

                                  STATEMENT OF THE CASE

        7.       L’Oreal USA, Inc., one of the largest cosmetics companies in the world,

intentionally fails to disclose to consumers that its popular waterproof mascara products contain

Per and Polyfluoroalkyl Substances, or “PFAS,” despite the fact that L’Oreal knew or should have

known that this information is material to consumers.

        8.       Instead, L’Oreal represented that its waterproof mascaras were safe, effective, high

quality, and appropriate for use on consumers’ eyelashes.

        9.       However, what L’Oreal did not tell consumers is that PFAS, which can have

adverse effects on humans and can bioaccumulate in human’s bodies, are present in detectable

amounts in its waterproof mascaras. Even very low levels of PFAS can be toxic to humans.

        10.      This is true even where PFAS are not ingested but rather are applied to skin because

PFAS can be absorbed through the skin. This risk is particularly high where the PFAS are applied

near the eyes, as is the case with mascara products.

        11.      From at least 2018 through the present, Defendant’s waterproof mascara was

misleadingly and fraudulently advertised because it failed to disclose the presence of PFAS in

L’Oreal’s waterproof mascara products. This failure to warn injured reasonable consumers,

including Plaintiffs, who reasonably relied upon Defendant’s misleading packaging and ingredient
list that did not disclose that the waterproof mascara products contained harmful PFAS. Had



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Plaintiffs and the putative Class known that L’Oreal’s waterproof mascara products contained

PFAS, they would not have purchased the products and/or would have paid less for them.

I.         THE COSMETICS INDUSTRY

           A.       Cosmetics are a Multi-Billion Dollar Industry that is Largely Unregulated

           12.      Personal care products are a multi-billion-dollar industry in the United States. In

2019 alone, the retail value of personal care products was estimated to be greater than $100 billion

in North America, approximately $20 billion of which came from cosmetic products.

           13.      In the United States, women spend, on average, $313 per month on beauty products,

including cosmetics, and that number is only growing.1 The most popular products are eye

products, particularly mascaras, and lip products.

           14.      The cosmetics industry is dominated by large, multinational companies with

significant brand recognition and correspondingly significant sales, including L’Oreal USA, Inc.

(which owns both L’Oreal and Maybelline branded products), Coty (which owns the CoverGirl

brand), and Revlon.2

           15.      A recent study from 2021 found that U.S. consumers were both most aware of, and

had actually purchased products within the last year from, the CoverGirl, Maybelline, L’Oreal and

Revlon brands.3

           16.      The use and labeling of cosmetic products ingredients in the United States is
regulated by the Federal Food, Drug, and Cosmetics Act of 1938 and the Fair Packaging and

Labeling Act of 1967. Cosmetic products are those that are “intended to be rubbed, poured,

sprinkled, sprayed on, introduced into, or otherwise applied to the human body . . . for cleansing,

beautifying, promoting attractiveness, or altering the appearance.” FD&C Act, sec. 201(i).

           17.      However, with the exception of some color additives, the FDA does not require




1
    https://www.byrdie.com/average-cost-of-beauty-maintenance
2
    https://www.statista.com/topics/1008/cosmetics-industry/
3
    Id.



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cosmetic ingredients or cosmetics products to have FDA approval prior to entering the market, and

federal regulations also do not regulate the type or kind of testing that is needed to determine the

safety of cosmetic ingredients or products.4

           18.       The only oversight that exists is entirely voluntary on the part of cosmetics

companies. The Voluntary Cosmetic Reporting Program is a “voluntary registration system for

cosmetic products” where companies can register the brand name and ingredients of their products.

           19.       The identification of cosmetic product ingredients in the United States generally

follow conventions set forth by the International Nomenclature of Cosmetic Ingredients (ICNI),

which established standards for naming cosmetic ingredients. The ICNI list is maintained by the

Personal Care Products Council, an industry trade group comprised of over 600 member

companies.

           20.       The Personal Care Products Council also funds the Cosmetic Ingredient Review,

which purportedly assesses the safety of cosmetic ingredients. But, again, participation is entirely

voluntary, meaning that, in general, the cosmetics industry is subject to essentially no oversight

and consumers are left to simply trust the manufacturers of cosmetics products that the products

are safe for use.

           B.        Consumers Value Safe and Healthy Cosmetic Products

           21.       The global market for natural cosmetics and personal care products has increased

substantially over the past three years, increasing from almost 34.5 billion dollars in 2018 to

roughly 54.5 billion dollars expected in the year 2027.5

           22.       This growth has been driven by increased consumer demand for natural ingredients

and “green” products in general.6 One study found that approximately 70% of U.S. consumers

ages 18-29 would prefer to use natural or organic cosmetics.7


4
    https://www.fda.gov/cosmetics/voluntary-cosmetic-registration-program
5
    https://www.statista.com/statistics/673641/global-market-value-for-natural-cosmetics/
6
    https://www.futuremarketinsights.com/reports/organic-cosmetics-market
7
    https://disturbmenot.co/beauty-industry-statistics/



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           23.      The growth has also been driven by legitimate concerns that consumers have about

the contents of the products they use on their skin and body. For example, consumers have pursued

high-profile lawsuits like the one against Johnson & Johnson related to its baby powder causing

ovarian cancer (see, e.g., Ingham v. Johnson & Johnson, 608 S.W.3d 663, 724 (Mo. Ct. App.

2020), reh'g and/or transfer denied (July 28, 2020), transfer denied (Nov. 3, 2020), cert. denied,

No. 20-1223, 2021 WL 2194948 (U.S. June 1, 2021)) or the class action case against Wen hair

care company alleging that its products made people’s hair fall out (see, e.g., Collazo v. Wen by

Chaz Dean, Inc., No. 215CV01974ODWAGR, 2015 WL 4398559, at *1 (C.D. Cal. July 17,

2015)). These types of high-profile lawsuits have made consumers afraid of chemicals and more

interested in products that are “natural” and “safe.”8

           24.      In response, many companies are replacing synthetic chemicals with natural

ingredients.

           25.      For example, popular beauty retailer Sephora has created an internal “seal of

approval” to designate “clean” beauty brands. As of July 2021, one of Sephora’s requirements for

that designation is that the product does not contain PFAS.9 Sephora’s website lists 374 cosmetics

products, including mascara and lip products, that have attained its “clean” designation.10

           26.      Ulta Beauty, another large cosmetics retailer, also maintains a “clean ingredients”

list of cosmetics made without certain harmful ingredients, including PFAS.11

           27.      Similarly, this increased demand has spurred the expansion of retailers dedicated

to “clean” beauty, including Credo, which launched in 2015 and currently has ten brick and mortar

retail locations in the U.S. and sells 418 separate cosmetics products on its website, all of which it

contends are free of any of the 2,700 ingredients on its “Dirty List,” including PFAS.12



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    https://www.vox.com/the-goods/2018/9/18/17866150/natural-clean-beauty-products-feinstein-cosmetics-bill-fda
9
    https://www.sephora.com/beauty/clean-beauty-products
10
     https://www.sephora.com/shop/clean-makeup
11
     https://www.ulta.com/conscious-beauty/clean-ingredients/
12
     https://cdn.shopify.com/s/files/1/0637/6147/files/The_Dirty_List_PDF_August_Update.pdf?v=1598294504



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           28.     Even retailers like Target and CVS have dedicated additional shelf-space to natural

beauty offerings.13

           29.     Retailer willingness to incorporate and promote “clean” beauty products is due in

part to consumers’ willingness to pay more for these products that they perceive as a safer and

healthier alternative to traditional brands. For example, a popular brand called Benefit, which is

not “clean,” sells a highly-rated foundation for $30, whereas Tarte, another popular brand, sells a

highly-rated “clean” foundation for $39.14

II.        PFAS ARE TOXIC AND POSE SUBSTANTIAL HEALTH RISKS TO HUMANS
           AND THE ENVIRONMENT

           30.     PFAS are human-made, synthetic chemicals that do not exist naturally in the

environment. They have been used for decades in industrial processes and to produce consumer,

household, and commercial products.

           31.     Consumer products manufactured with PFAS were often promoted as being

resistant to heat and stains, long-lasting, and capable of repelling water, oil, and grease. Companies

have utilized PFAS to make, among other things, carpets, clothing, fabrics for furniture, paper

packaging for food, and other materials such as cookware that are resistant to water, grease, or

stains.

           32.     Although there are thousands of unique PFAS in existence, the details of many of

these compounds are proprietary and known only to manufacturers and industrial users. But, what

all PFAS share is that they contain multiple carbon-fluorine bonds, considered one of the strongest

in chemistry, making them highly persistent in the environment and in human and animal bodies.

In addition, the shared, characteristic chemistry common to all PFAS confers on each of these

compounds hydrophobic and oleophobic properties, making PFAS effective surface protectors.

           33.     PFAS are extremely soluble in water, which has led to their discovery in




13
     https://www.vox.com/the-goods/2018/9/18/17866150/natural-clean-beauty-products-feinstein-cosmetics-bill-fda
14
     https://www.huffpost.com/entry/why-clean-beauty-is-more-expensive_l_5fdb7307c5b6f24ae35e39d8



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groundwater, rivers, and the ocean, as well as drinking water resources, fish, and marine mammals.

        34.     PFAS can be categorized as either “long-chain” or “short-chain” based on the

number of carbon atoms they contain. Long-chain PFAS contain 7 or more carbon atoms, while

PFAS containing fewer than 7 carbon atoms are considered short-chain.

        35.     Long-chain PFAS, such as perfluorooctanoic acid (PFOA) and perfluorooctane

sulfonate (PFOS), have been widely detected in environmental samples, wildlife, and humans

across the globe. Long-chain PFAS bioaccumulate and bio-magnify in both humans and in

wildlife.

        36.     In the Stockholm Convention on Persistent Organic Pollutants, PFOS is listed in

Annex B. Annex B consists of persistent organic pollutants whose production, use, import, and

export the Convention aims to restrict.

        37.     The European Union specifically regulates products containing PFAS, restricting

the manufacture or import of products containing more than 25 parts per billion (ppb) of PFOA.

        38.     In October 2021, the US government announced its “PFAS Strategic Roadmap,”

which is an interagency plan to combat the continued use and release of PFAS. As part of the

Strategic Roadmap, the Environmental Protection Agency (EPA) committed to designating PFOA

and PFOS as “hazardous substances” under the Comprehensive Environmental Response,

Compensation, and Liability Act (CERCLA); finalizing a PFAS reporting rule under the Toxic

Substances Control Act (TSCA) section 8(e); and publishing toxicity assessments for 7 widely

used PFAS, including the short-chain compound GenX, PFBA, PFHxA, PFHxS, PFNA, and

PFDA.

        39.     Following announcement of the Strategic Roadmap, a majority of the EPA’s

Science Advisory Board (SAB) agreed with the EPA that PFOA is a “likely carcinogen,” with

some members supporting a designation of “carcinogen.” For PFOS, the SAB indicated that the

evidence supports a label of “likely carcinogen.”

        40.     Short-chain PFAS unfortunately pose health and safety risks that are similar to their
long-chain counterparts.



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           41.      Short-chain PFAS consist of multiple carbon-fluorine bonds, which, like long-

chain PFAS, makes them highly persistent in the environment. They also bioaccumulate in human

and animal bodies.

           42.      A 2019 study conducted by the U.S. Department of Health and Human Services’

National Toxicology Program found that short-chain PFAS have the same adverse effects as long-

chain compounds. This study determined that both long and short-chain PFAS compounds affect

the same organ systems, with the greatest impact observed in the liver and thyroid hormone.15

           43.      Humans may be exposed to PFAS through a variety of pathways, including

ingestion, inhalation, and skin absorption. Studies dating back at least a decade have indicated that

PFAS can be absorbed through skin, with evidence showing that PFAS in the blood increase after

application to skin.

           44.      Many PFAS, both long and short chain, are toxic to humans at extremely low levels.

Exposure to certain PFAS is associated in the medical and scientific literature with harmful and

serious health effects in humans and animals, including but not limited to: (a) altered growth;

(b) impacts to learning and behavior of infants and older children; (c) lowering a woman’s chance

of getting pregnant; (d) interference with the body’s natural hormones; (e) increased cholesterol

levels; (f) modulation of the immune system; (g) testicular and kidney cancers; (h) thyroid disease;

(i) high uric acid levels; (j) elevated liver enzymes; (k) ulcerative colitis; and (l) pregnancy-

induced hypertension.

           45.      The International Agency for Research on Cancer (IARC) has classified PFOA as

possibly carcinogenic to humans.16

           46.      There is also evidence in the scientific literature that PFAS exposure is positively

correlated with certain metabolic diseases, such as diabetes, overweight, obesity, and heart disease.

           47.      The Center for Disease Control’s Agency for Toxic Substances and Disease



15
     https://ntp.niehs.nih.gov/whatwestudy/topics/pfas/index.html
16
     https://monographs.iarc.who.int/wp-content/uploads/2018/06/mono110-01.pdf?source=post_page



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Registry has recognized that exposure to PFAS may impact the immune system and reduce

antibody response to vaccines. This is especially significant given the current public health risks

posed by COVID-19 and efforts to protect against the virus with vaccines.

           48.      PFAS is capable of crossing the placenta, meaning pregnant women transfer PFAS

to their unborn children. Women exposed to PFAS during pregnancy have higher risks of

gestational diabetes and pre-eclampsia, and their babies are more likely to undergo abnormal

growth in utero, leading to low birth weight, and later face an increased risk of childhood obesity

and infections.

           49.      Researchers have begun to find significant increases of certain short-chain PFAS

in the blood of sample populations, raising concerns that short-chain PFAS are assuming the body

burden once exclusively occupied by long-chain compounds.

           50.      Consumers are rightfully concerned about the presence or risk of PFAS in various

products.

           51.      However, PFAS are essentially unregulated at the federal level. For example, the

Safe Drinking Water Act (SDWA) protects public water supplies across the U.S. and is enforced

by the Environmental Protection Agency (EPA). Under this law, the EPA has not (although it

could) formally created a Maximum Contaminant Level for PFAS in the water supply. Rather, the

EPA has issued a health advisory for PFOA and PFOS that serve as “informal technical guidance”

to assist government officials and water system managers in sampling and treating PFOA and

PFOS in drinking water.17

           52.      Over the past decade, several states have enacted maximum contaminant levels

regulating certain PFAS, including PFOA and PFOS, in drinking water.

           53.      The State of New York was one of the first to recognize that PFAS were harmful

to humans and should be regulated. In 2016, it took steps to regulate when and how PFAS could




17
     https://www.epa.gov/pfas/pfas-laws-and-regulations



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knowingly be released into the environment, for example for firefighting purposes. 18 Then, in

2020, New York enacted a law prohibiting the sale of food packaging containing PFAS, effective

Dec. 31, 2022.19

            54.     In October 2020, California passed a law titled the Toxic Free Cosmetics Act,

Assembly Bill 2762, that, starting January 1, 2025, will prohibit the manufacturing or selling of

any cosmetic product with any intentionally added amount of 24 specified chemicals, including

PFAS.

            55.     In March 2021, California’s Office of Environmental Health Hazard Assessment

(OEHHA) released a Notice of Intent to list PFOA as a carcinogen under Proposition 65. In

December 2021, the OEHHA approved the listing of PFOS as a carcinogen under Proposition 65.

            56.     California recently passed legislation banning the use of PFAS in paper-based food

packaging as well as the disclosure of the presence of PFAS in cookware. 20 This bill, Assembly

Bill 1200, builds off similar food-packaging legislation passed in 2020 in New York.21

            57.     Similarly, in July of 2021, the State of Connecticut signed a bill into law banning

the use of firefighting foam and food packaging that contains PFAS.22 An even broader law was

passed in Maine in July 2021 that bans PFAS in nearly all products, stating as of Jan. 1, 2030, “a

person may not sell, offer for sale or distribute for sale” in Maine products where PFAS has been

“intentionally added” except in cases of “unavoidable use.”23 Similar legislation has also been




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     https://www.dec.ny.gov/chemical/108831.html
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 https://www.natlawreview.com/article/new-york-bans-pfas-food-
packaging#:~:text=New%20York%20State%20Governor%20Andrew,%2C%20effective%20December%2031%2C
%202022
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     https://www.nrdc.org/experts/avinash-kar/ca-bill-reduce-toxic-pfas-exposures-passed-legislature
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     Id.
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 https://portal.ct.gov/Office-of-the-Governor/News/Press-Releases/2021/07-2021/Governor-Lamont-Signs-
Legislation-Banning-Use-Of-PFAS
23
     https://www.reuters.com/legal/litigation/maine-outlaws-pfas-products-with-pioneering-law-2021-07-16/




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passed in Vermont and Washington.24

           58.      In 2018, 3M reached an $850 million settlement with the State of Minnesota

brought by the Attorney General alleging that 3M’s production of PFAS damaged the drinking

water and resources throughout the Minneapolis/St. Paul area, including within residential areas.25

           59.      A similar personal injury case was filed on behalf of citizens of West Virginia

against DuPont related to discharges of PFAS from a manufacturing site into local water sources.

That case settled in 2017 for $671 million.26

           60.      As the risks associated with PFAS become more widely known, it is likely that

consumer awareness will continue to grow. It is reasonable for consumers to be concerned about

these chemicals, which carry significant health risks and are often undisclosed by manufacturers.

III.       THE USE OF PFAS IN COSMETIC PRODUCTS

           61.      PFAS have long been used in a variety of cosmetic products that come into contact

with the skin, including lotions, cleansers, nail polish, shaving cream, foundation, lipstick,

eyeliner, eyeshadow, and mascara.

           62.      PFAS are used in cosmetic products as emulsifiers, antistatics, stabilizers,

surfactants, film formers, viscosity regulators, and solvents. PFAS may be added to products to

make them more water-resistant, durable, and spreadable.

           63.      Certain commonly used PFAS may be identified on a cosmetic product’s label or

on its ingredient list.

           64.      The most common PFAS identified and/or disclosed as ingredients in cosmetic

products are polytetrafluoroethylene (PTFE), perfluorooctyl triethoxysilane, perfluorononyl

dimethicone, perfluorodecalin, and perfluorohexane.

           65.      PTFE is known by its brand name, Teflon. According to a 2018 market analysis,



24
     https://www.natlawreview.com/article/connecticut-and-vermont-ban-pfas-food-packaging
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     https://3msettlement.state.mn.us/
26
    https://www.reuters.com/article/us-du-pont-lawsuit-west-virginia/dupont-settles-lawsuits-over-leak-of-chemical-
used-to-make-teflon-idUSKBN15S18U



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Teflon was disclosed as an ingredient in 66 different cosmetic products from 15 brands. Teflon

was the most common PFAS compound identified in a product’s ingredient list.27

           66.     This 2018 market analysis identified 13 different PFAS compounds in nearly 200

products from 28 brands.28 These compounds were intentionally added ingredients disclosed in

each product’s ingredient list. That said, a reasonable consumer would be unlikely to identify most

of the compounds as part of the PFAS family simply by looking at the name of the ingredient.

           67.     Even where PFAS are identified in a product’s ingredient list, the quantity of the

PFAS contained in the product is not disclosed.

           68.     Because there are no formal federal regulations governing what cosmetic labels

must disclose, many cosmetic products that contain PFAS do not disclose this on the product label

or on the ingredient list.

           69.     The 2018 market analysis reviewed only PFAS ingredients that were disclosed in

an ingredient list or product label. Disclosed PFAS ingredients, however, make up only a fraction

of the PFAS contained in cosmetic products.

           70.     PFAS occurs in cosmetic products both as an intended ingredient and as

degradation products and impurities from the production of certain PFAS precursors used in

certain products.

           71.     Prior to 2021, no scientific research had been published analyzing whether PFAS

were present in cosmetic products where the label did not disclose the presence of any such

compounds.

           72.     In June 2021, researchers at Notre Dame published a peer-reviewed analysis of 231

cosmetic products using particle-induced gamma ray emission (PIGE) to screen for total fluorine.



27
     https://www.ewg.org/skindeep/contents/is-teflon-in-your-cosmetics/#.Wqk_bb3wajT
28
   PFAS compounds identified by the analysis included: (i) PTFE, (ii) perfluorononyl dimethicone, (iii)
perfluorodecalin, (iv) C9-15 fluoroalcohol phosphate, (v) octafluoropentyl methacrylate, (vi) perfluorohexane, (vii)
pentafluoropropane,      (viii)    polyperfluoroethoxymethoxy        difluoroethyl      peg     phosphate,      (ix)
polyperfluoroethoxymethoxy peg-2 phosphate, (x) methyl perfluorobutyl ether, (xi) perfluorononylethyl carboxydecyl
peg-10 dimethicone, (xii) perfluorodimethylcyclohexane, and (xiii) perfluoroperhydrophenanthrene.



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Researchers analyzed lip products, eye products, foundations, face products, mascaras, concealers,

and eyebrow products purchased from retailers such as Ulta Beauty, Sephora, Target, and Bed

Bath & Beyond.29

           73.      Because all PFAS are comprised of carbon-fluorine bonds, analyzing a product for

total fluorine is a method to investigate whether PFAS are present.

           74.      Foundations produced the highest median total fluorine concentration, while

mascaras produced the largest range of total fluorine measurements. Several mascaras gave the

highest fluorine concentrations measured. The three product categories with the highest proportion

of fluorine concentrations were foundations, mascaras, and lip products.

           75.      Researchers found high fluorine levels in products commonly advertised as “wear-

resistant” to water and oils or “long-lasting,” including foundations, liquid lipsticks, and

waterproof mascaras. Industrial and consumer products containing PFAS are often described as

water or stain-resistant.

           76.      Researchers performed a further analysis of 29 foundations, mascaras, and lip

products using liquid chromatography-tandem mass spectrometry and gas chromatographic mass

spectrometry.

           77.      This further analysis revealed that short-chain PFAS were most commonly detected

in these products.

           78.      However, researchers also found that the 29 products also contained long-chain

PFAS.

           79.      Only 8% of the 231 cosmetics screened for total fluorine listed any PFAS as an

ingredient and only 3% of the 29 products in the second round of testing listed any PFAS as an

ingredient. Long and short-chain PFAS were detected in all 29 products analyzed in the second

round of testing, meaning that very few disclosed that PFAS were present in the product.

           80.      Some cosmetic product ingredients, such as mica, talc, silica, Nylon-12, and color



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     https://pubs.acs.org/doi/10.1021/acs.estlett.1c00240



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additives, are treated with PFAS to provide hydrophobic properties.

           81.      The use of PFAS in cosmetic products is likely to cause unwanted or unforeseen

human exposures. Consumers may inadvertently ingest PFAS from liquid lip products or absorb

PFAS from mascara through their tear ducts. PFAS may be absorbed through the skin from

foundations or other products that require dermal applications.

           82.      In addition, PFAS in cosmetic products contributes to PFAS entering wastewater

streams and cause ecosystem exposures when those products are discarded in landfills.

           83.      Because many PFAS are not disclosed on product labels or in a product’s ingredient

list, consumers are likely unaware of their personal exposure, as well as their contribution to

ecosystem exposures.

           84.      Following publication of the June 2021 research, the federal government moved to

curtail the widespread inclusion of PFAS in cosmetic products.

           85.      In June 2021, bipartisan legislation was introduced in the U.S. Senate by Senator

Susan Collins (R-ME) and Senator Richard Blumenthal (D-CT) that would ban PFAS in cosmetic

products, including makeup, moisturizer, and perfume. That proposed legislation would direct the

FDA to issue a proposed rule banning the intentional addition of PFAS in cosmetics within 270

days of the law’s enactment and require a final rule to be issued 90 days thereafter. 30 Similar

legislation was introduced in the House of Representatives as well by Representatives Debbie

Dingell (D-MI), Brian Fitzpatrick (R-PA), Annie Kuster (D-NH), and John Katko (R-NY).31

           86.      Members of the scientific community support this proposed legislation. Arelene

Blum, PhD, who is the executive director of the Green Science Policy Institute and a co-author of

the Notre Dame study, stated, “PFAS chemicals are not necessary for makeup. Given their large

potential for harm, I believe they should not be used in any personal care products.” And Scott

Faber, the Senior Vice President of Government Affairs for the Environmental Working Group



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     https://www.collins.senate.gov/newsroom/collins-blumenthal-introduce-bill-ban-pfas-chemicals-cosmetics
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     https://debbiedingell.house.gov/news/documentsingle.aspx?DocumentID=3097



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stated, “Toxic forever chemicals have no place in personal care products.”32

IV.        INDEPENDENT LAB TESTING CONFIRMS PRESENCE OF PFAS IN CERTAIN
           L’OREAL COSMETIC PRODUCTS

           87.      After reviewing the study conducted by Notre Dame researchers, Plaintiffs sought

independent third-party testing to determine whether certain L’Oreal cosmetic products contained

PFAS.

           88.      To perform this testing, Plaintiffs sought out an independent laboratory that utilized

industry standard techniques to detect PFAS constituents in cosmetic products.

           89.      Plaintiffs’ independent testing from a third-party lab determined that PFAS,

including certain long-chain PFAS like PFOA, were present within several popular L’Oreal

waterproof mascara products, including L’Oreal Voluminous Waterproof Mascara, Voluminous

Lash Paradise™ Waterproof Mascara, Maybelline Volum’ Express the Falsies Waterproof

Mascara, Maybelline Volum’ Express Total Temptation Waterproof Mascara, Maybelline Great

Lash Waterproof Mascara, and Maybelline Total Temptation Waterproof Mascara (collectively,

the “Waterproof Mascara Products”).

           90.      The presence of PFAS in a cosmetic product that is applied to the eye is material to

Plaintiffs, customers, and members of the putative class.

           91.      As set forth below, none of the Waterproof Mascara Products identified herein

disclose to the consumer that they contain PFAS that were detected in Plaintiffs’ testing.
V.         L’OREAL’S MISLEADING ADVERTISING OF ITS WATERPROOF MASCARA
           PRODUCTS

           92.      Defendant L’Oreal is one of the largest cosmetics companies in the world,

generating over $7 billion in sales per year in the U.S. alone. 33 It owns and operates over 30

different beauty brands from its headquarters in New York City, and employs over 12,000 people




32
     https://www.collins.senate.gov/newsroom/collins-blumenthal-introduce-bill-ban-pfas-chemicals-cosmetics
33
     https://www.loreal.com/en/usa/



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in facilities across 14 different states.34

           93.      According to L’Oreal, its mission is to bring “innovative, effective, high-quality

products to our consumers around the world,” and to do this L’Oreal selects suppliers “who are

experts in their field” to ensure “the quality, effectiveness and traceability of our products.”35

           94.      L’Oreal develops all of its own products and employs 4,000 people in its Research

& Innovation centers around the world. L’Oreal claims its research “provid[es] a continuously

improving response to the Beauty needs and aspirations of consumers, while the products they

create are ever more effective, and provide the highest standards of quality and safety.”36

           95.      L’Oreal touts its commitment to research, proudly declaring on its website that it

employs over 470 U.S.-based researchers and scientists.37 The L’Oreal Paris brand website states

that its products are “Rooted in Science” and “based on the deepest knowledge thanks to its 4000

researchers and 21 scientific research centers around a [sic] world.”38

           96.      L’Oreal claims that “The Quality and Safety of Our Products Are Our Priority” and

that it is “Going above and beyond industry standards” by “providing the best [] ingredients,

formulation, and performance [] in each and every one of our products.”39

           97.      One of L’Oreal’s brands is its popular “L’Oreal Paris” cosmetics line, consisting of

makeup (including mascara, lipstick, foundation, etc.), skin care (including eye cream, moisturizer,

sunscreen, etc.), hair color (including permanent and semi-permanent color, hair highlights, and

root touch up, etc.), hair care (including shampoo, conditioner, hair masks, etc.), and hair style

(including hair gel, hair spray, heat protectant, etc.).40




34
     Id.
35
     https://www.loreal.com/en/audiences/suppliers/
36
     https://www.loreal.com/en/beauty-science-and-technology/beauty-research-and-innovation/
37
     Id.
38
     https://www.loreal.com/en/consumer-products-division/loreal-paris/
39
     https://www.loreal.com/en/commitments-and-responsibilities/for-our-products/product-quality-and-safety/
40
     https://www.lorealparisusa.com/



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           98.     Within its “L’Oreal Paris” branded makeup line, L’Oreal offers ten different

“waterproof” mascara products out of its 27 mascara products.41 L’Oreal also owns the Maybelline

cosmetic brand and offers a number of “waterproof” mascaras under this brand.

           99.     Of these products, Plaintiffs’ testing has thus far determined that the Waterproof

Mascara Products contain undisclosed PFAS.

           100.    Upon information and belief, discovery is likely to reveal that additional

Waterproof Mascara Products contain PFAS that is not disclosed on the product label or

packaging.

           101.    Defendant formulated, developed, manufactured, labeled, distributed, marketed,

advertised, and sold the Waterproof Mascara Products throughout the United States, including in

this District, during the Class Period.

           102.    The packaging, labeling, and ingredient lists of the Waterproof Mascara Products

that Plaintiffs and the Class relied upon when making their purchases of the Waterproof Mascara

Products were prepared, reviewed, and/or approved by Defendant and their agents, and were

disseminated by Defendant and their agents through the packaging, labeling, and ingredient lists

that contained the misrepresentations and omissions alleged herein.

           103.    Defendant intended for consumers, such as Plaintiffs, to rely on the statements and

omissions on the packaging, labeling, and ingredient lists of the Waterproof Mascara Products

when deciding to purchase them. As a result of Defendant’s misrepresentations and omissions,

reasonable consumers, including the Plaintiffs and the Class, were misled into purchasing the

Waterproof Mascara Products when, if they had known the truth about the presence of PFAS, they

would not have purchased them at all or would have paid less for those products.

           104.    L’Oreal owns, manufactures, and distributes the Waterproof Mascara Products and

created, allowed, negligently oversaw, and/or authorized the unlawful, fraudulent, unfair,

misleading, and/or deceptive packaging, labeling, and ingredient lists of the Waterproof Mascara



41
     See https://www.lorealparisusa.com/makeup/eye/mascara?page=2.



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Products.

       105.    Defendant is responsible for selecting and sourcing the ingredients used in the

Waterproof Mascara Products and for conducting all relevant quality assurance protocols,

including testing, for the Waterproof Mascara Products. Therefore, Defendant knew, or should

have known, that failing to disclose the presence of detectable levels of PFAS was a material

omission and that it was concealing the true quality, nature, and safety of the Waterproof Mascara

Products.

       106.    None of the Waterproof Mascara Products disclose on the packaging, labeling, or

ingredient list that the mascara contains detectable levels of PFAS, including PFOA, PFHxA,

PFDoS, and NEtFOSE, among others.

       107.    In addition, several of the Waterproof Mascara Products contain misrepresentations

that would lead a reasonable consumer to conclude the products are safe and do not contain harmful

carcinogenic PFAS compounds.

       108.    L’Oreal’s Voluminous Waterproof Mascara, for example, states that the product is

“ophthalmologist and allergy tested. Suitable for sensitive eyes and contact lens wearers.”

       109.    An image of the product packaging is set forth below:




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       110.    L’Oreal’s Voluminous Lash Paradise Waterproof Mascara contains similar

misrepresentations, stating that it is “ophthalmologist and allergy tested. Suitable for sensitive

eyes. Tested under dermatological control for safety.”




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       111.   Maybelline’s Volum’ Express the Falsies Waterproof Mascara and Maybelline the

Colossal Waterproof Mascara both state that the product is “ophthalmologist tested. Suitable for

contact wearers.”




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       112.   Maybelline Great Lash Waterproof Mascara states that it is “contact lens safe” and
“hypoallergenic.”



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       113.   These misrepresentations are likely to mislead a reasonable consumer, including

Plaintiffs, into believing the Waterproof Mascara Products are safe for use and do not contain

carcinogenic and/or toxic PFAS compounds not disclosed on the product label or packaging.

VI.   PLAINTIFFS’ USE OF L’OREAL’S WATERPROOF MASCARA PRODUCTS

       Zaida Hicks

       114.   Plaintiff Hicks has been purchasing L’Oreal Voluminous Waterproof Mascara,
Maybelline Volum’ Express The Falsies Waterproof Mascara, and Maybelline Great Lash



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Waterproof Mascara (collectively, the “Hicks Mascaras”) since at least 2019.

       115.     Plaintiff Hicks has had LASIK eye surgery performed twice and has sensitive eyes,

which requires her to use medicated eye drops.

       116.     Because of her eye health issues, when purchasing the Hicks Mascara, Plaintiff

Hicks viewed and relied on the statements that The Falsies Waterproof Mascara is

“ophthalmologist tested. Suitable for contact wearers,” that Great Lash is “contact lens safe” and

“hypoallergenic,” and that Voluminous is “ophthalmologist and allergy tested. Suitable for

sensitive eyes and contact lens wearers.”

       117.     As a result of Defendants’ misrepresentations and omissions, Plaintiff Hicks

purchased the Hicks Mascaras because she reasonably believed they were safe for use around,

adjacent to, and near her eyes.

       118.     Plaintiff Hicks followed the instructions and applied the Hicks Mascaras around

her eyes.

       119.     Plaintiff Hicks estimates that she has purchased each of the Hicks Mascaras at least

2-3 times per year since 2019. Prior to purchase, Plaintiff Hicks saw and relied upon Defendant’s

packaging and the ingredient lists for each of the Hicks’ Mascaras when making her decision to

purchase one of the Waterproof Mascara Products.

       120.     Plaintiff Hicks, like other reasonable consumers, reasonably relied on Defendant’s

packaging, labeling, ingredient list, and disclosures when deciding to purchase one of the

Waterproof Mascara Products.

       121.     Plaintiff Hicks was unaware that the Waterproof Mascara Products contained

detectable levels of PFAS.

       122.     Plaintiff Hicks would not have purchased the Hicks Mascaras, or would have paid

less for them, had she known that they contained and/or had a material risk of containing dangerous

PFAS. In fact, Plaintiff Hicks has stopped using Hicks Mascaras since learning they contain PFAS.

       123.     The Waterproof Mascara Products were misleadingly advertised. As a result of
Defendant’s negligent, reckless, and/or knowingly deceptive conduct, Plaintiff Hicks was injured



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by purchasing, at a premium price, the Waterproof Mascara Products that were not of the quality

and safety promised and that Plaintiff would not have purchased if she had not been misled by

Defendant.

       124.    If Plaintiff Hicks or the members of the putative Class were to encounter the

Waterproof Mascara Products in the future, they could not reasonably rely on the truthfulness of

the packaging unless Defendant’s packaging and labeling corrected the misleading packaging

omission.

       Stephanie Vargas

       125.    For the last 10 years, Plaintiff Vargas has purchased Maybelline’s Volum’ Express

The Falsies Waterproof Mascara approximately once every 4-5 months.

       126.    Plaintiff Vargas wears contact lenses.

       127.    After viewing YouTube videos comparing different mascaras and various product

packages regarding the purported contents and benefits of the mascaras, including the statements

that it is “ophthalmologist tested. Suitable for contact wearers,” Plaintiff Vargas purchased The

Falsies Waterproof Mascara.

       128.    Prior to purchase, Plaintiff Vargas saw and relied upon Defendant’s packaging and

ingredient list for The Falsies Waterproof Mascara when making her decision to purchase one of

the Waterproof Mascara Products.

       129.    As a result of Defendants’ misrepresentations and omissions, Plaintiff Vargas

purchased The Falsies Waterproof Mascara because she reasonably believed it was safe for use

around, adjacent to, and near her eyes.

       130.    Plaintiff Vargas would not have purchased The Falsies Waterproof Mascara, or

would have paid less for it, had she known that it contained and/or had a material risk of containing

dangerous PFAS. In fact, Plaintiff Vargas has stopped using The Falsies Waterproof Mascara since

learning it contains PFAS.

       131.    Plaintiff Vargas followed the instructions and applied The Falsies Waterproof




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Mascara Products around her eyes.

       132.     Plaintiff Vargas was unaware that The Falsies Waterproof Mascara contained

detectable levels of PFAS.

       133.     Plaintiff Vargas, like other reasonable consumers, reasonably relied on Defendant’s

packaging, labeling, ingredient list, and disclosures when deciding to purchase one of the

Waterproof Mascara Products.

       134.     The Waterproof Mascara Products were misleadingly advertised. As a result of

Defendant’s negligent, reckless, and/or knowingly deceptive conduct, Plaintiff Vargas was injured

by purchasing, at a premium price, the Waterproof Mascara Products that were not of the quality

and safety promised and that Plaintiff Vargas would not have purchased if she had not been misled

by Defendant.

       135.     If Plaintiff Vargas or the members of the putative Class were to encounter the

Waterproof Mascara Products in the future, they could not reasonably rely on the truthfulness of

the packaging unless Defendant’s packaging and labeling corrected the misleading packaging

omission.

VII.   DEFENDANT’S           PACKAGING           CLAIMS        MISLED       AND      DECEIVED
       CONSUMERS

       136.     Defendant’s packaging claimed the Waterproof Mascara Products were sale and

did not contain harmful carcinogenic PFAS compounds. These misrepresentations and omissions
are misleading to consumers because the Waterproof Mascara Products do in fact contain and/or

have a material risk of containing PFAS.

       137.     Reasonable consumers, including the Plaintiffs and the Class, paid Defendant a

price premium for the Waterproof Mascara Products because the consumers relied on the accuracy

of the disclosures and statements on Defendant’s packaging, labels, and ingredient list.

       138.     Reasonable consumers, including the Plaintiffs and the Class, considered the above

packaging claims to be material to their decision to purchase the Waterproof Mascara Products.
       139.     Defendant knew or should have known, yet failed to disclose, that the Waterproof




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Mascara Products contained and/or had a material risk of containing PFAS, and thus did not

conform to the packaging claims.

       140.    Defendant also knew or should have known that the presence or material risk of

PFAS were a material consideration to consumers like Plaintiffs and the Class when they

purchased the Waterproof Mascara Products.

       141.    A reasonable consumer would not have paid the price premium for the Products if

they had known that the Waterproof Mascara Products contained or had a material risk of

containing PFAS.

       142.    In fact, reasonable consumers, including Plaintiffs and the Class, would have

refused to purchase the Waterproof Mascara Products entirely if they had known that the Products

contained or had a material risk of containing PFAS.

       143.    As a result of Defendant’s misleading packaging claims and omissions, consumers

like Plaintiffs and the Class suffered substantial financial losses by paying premium prices for the

Waterproof Mascara Products that did not conform to their packaging claims. Not only that, but

Plaintiffs and Class Members have incurred costs to prematurely replace the product and costs to

discontinue use of the product before its expiration.

VIII. CONSUMER RELIANCE WAS REASONABLE AND FORESEEABLE

       144.    Plaintiffs and the Class reasonably relied upon Defendant’s misleading packaging
claims and omissions when making their decision to purchase the Waterproof Mascara Products.

       145.    Any reasonable consumer would consider the packaging and labeling of a

cosmetics product. At the time of purchase, Plaintiffs and the Class had no opportunity to discover

the truth about Defendant’s omission of the presence or risk of PFAS in the Waterproof Mascara

Products.

       146.    Consumers reasonably relied upon Defendant’s misleading packaging claims as

objective statements that communicated, represented, and advertised that the Waterproof Mascara

Products had specific product characteristics.
       147.    Defendant knew, or should have known, that Plaintiffs and the Class would rely on



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their misleading packaging claims. Defendant designed and had control over the Waterproof

Mascara Products’ packaging, including omitting information about the presence or risk of PFAS,

in order to target and induce consumers like Plaintiffs and the Class to purchase the Product at the

advertised price.

       148.    Plaintiffs and the Class are intended third-party beneficiaries of any implied

warranty between L’Oreal and retailers. Retailers were not intended to be the ultimate consumers

of the Waterproof Mascara Products as any implied warranty that exists was intended to benefit

consumers.

IX.    DEFENDANT’S KNOWLEDGE OF THE MISREPRESENTATIONS AND
       OMISSIONS

       149.    Defendant had exclusive knowledge of the contents and formula of its Waterproof

Mascara Products, including whether they contained or were at a risk of containing PFAS.

       150.    Defendant also had exclusive knowledge of its ingredient suppliers and could have

obtained information from their suppliers about the contents of the ingredients, including whether

they contained or were at risk of containing PFAS.

       151.    Consumers like Plaintiffs and the Class were unable to determine or identify that

Defendant’s Waterproof Mascara Products contained or were at risk of containing PFAS given the

Products’ mislabeling and failure to disclose the presence or risk of PFAS.

X.     DEFENDANT ACTED NEGLIGENTLY AND/OR INTENTIONALLY TO
       MISLEAD CONSUMERS

       152.    Defendant acted negligently and/or intentionally to deceive consumers, including

Plaintiffs and the Class, through its misleading Waterproof Mascara Product packaging that did

not disclose the presence or risk of PFAS in the Products.

       153.    Defendant did so despite knowing that the presence and/or material risk of PFAS

in the Waterproof Mascara Products, as well as knowing that PFAS could be eliminated from its

Products. Defendant knew that consumers like Plaintiffs and the Class trusted and relied on

Defendant to ensure that the Waterproof Mascara Products conformed to their packaging claims




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and did not contain undisclosed PFAS.

XI.    TOLLING OF STATUTES OF LIMITATIONS

       154.    Any applicable statute of limitations has been tolled by Defendant’s knowing and

active concealment of the presence or risk of PFAS in the Waterproof Mascara Products and the

misrepresentations and omissions alleged herein. Through no fault or lack of diligence, Plaintiffs

and members of the Class were deceived regarding the Waterproof Mascara Products and could

not reasonably discover that they contained, or may contain, PFAS.

       155.    Plaintiffs and members of the Class did not discover and did not know of any facts

that would have caused a reasonable person to expect that the Defendant was concealing the

presence or risk of PFAS in the Waterproof Mascara Products. As alleged herein, the presence or

risk of PFAS in the Waterproof Mascara Products was material to Plaintiffs and members of the

Class at all relevant times. Within the time period of any applicable statute of limitations, Plaintiffs

and members of the Class would not have discovered through the existence of reasonable diligence

that the Waterproof Mascara Products contain, or may contain, PFAS.

       156.    At all times, Defendant is and was under a continuous duty to disclose to Plaintiffs

and the Class the true standard, quality, and grade of the Waterproof Mascara Products and to

disclose the presence or risk of PFAS due to its exclusive and superior knowledge of the contents

and ingredient sourcing for the Waterproof Mascara Products.
       157.    Defendant knowingly, actively, and affirmatively concealed the facts alleged

herein. Plaintiffs and members of the Class reasonably relied on Defendant’s knowing, active, and

affirmative concealment.

       158.    For these reasons, all applicable statutes of limitation have been tolled based on the

discovery rule and Defendant’s fraudulent concealment, and Defendant is estopped from relying

on any statues of limitations in defense of this action.

                               CLASS ACTION ALLEGATIONS

       159.    Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules
of Civil Procedure on behalf of herself and the classes. This action satisfies the requirements set



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forth in Rule 23(a) and Rule 23(b)(3).

       160.      Plaintiffs bring this action on behalf of the following class(es) (together referred to

as the “Class”):

                 Nationwide Class: All individuals in the United States who purchased the
                 Waterproof Mascara Products from 2018 to the present; and/or

                 New York Subclass: All individuals in the State of New York who
                 purchased the Waterproof Mascara Products from 2018 to the present.

       161.      Excluded from the Class are Defendant, its legal representatives, assigns and

successors, and any entity in which Defendant has a controlling interest. Also excluded is the judge

to whom this case is assigned and any member of the judge’s immediate family and judicial staff.

Claims for personal injury are specifically excluded from the Class.

       162.      This action is brought and may be properly maintained as a class action. There is a

well-defined community of interests in this litigation and the members of the Class are easily

ascertainable.

       163.      Numerosity (Rule 23(a)(1)): Although the actual size of the Class is uncertain,

Plaintiffs are informed and believe that the Class is comprised of at least thousands of purchasers

of the Waterproof Mascara Products, making joinder impracticable. The disposition of the claims

of the Class in a single action will provide substantial benefits to the parties and the Court.

       164.      Commonality (Rule 23(a)(2)): Questions of law and fact common to Plaintiffs and

the Class include, but are not limited to, the following:

           a. Whether Defendant owed a duty of care to Plaintiffs and the Class;

           b. Whether the Waterproof Mascara Products contained detectable levels of PFAS;

           c. Whether Defendant knew or should have known that the Waterproof Mascara
              Products contained detectable levels of PFAS not disclosed on the product label
              and/or packaging;

           d. Whether Defendant failed to test, or require its suppliers to test, the Waterproof
              Mascara Products and their ingredients for the presence of PFAS;

           e. Whether Defendant failed to disclose that the Waterproof Mascara Products
              contained PFAS;



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           f. Whether Defendant wrongfully represented that the Waterproof Mascara Products
              were safe for use and did not include toxic PFAS substances;

           g. Whether Defendant wrongfully represented, and continues to represent, that the
              Waterproof Mascara Products are safe for use on eyes and high-quality;

           h. Whether reasonable consumers would consider that the Waterproof Mascara
              Products containing detectable levels of PFAS to be a material fact in purchasing
              the Waterproof Mascara Products;

           i. Whether Defendant continued to manufacture and sell the Waterproof Mascara
              Products despite knowing that they contain detectable levels of PFAS;

           j. Whether Defendant’s omission of the presence of PFAS in the Waterproof Mascara
              Products was likely to mislead, deceive, confuse, or confound consumers acting
              reasonably;

           k. Whether Defendant violated New York law;

           l. Whether Defendant engaged in deceptive acts and practices;

           m. Whether Defendant engaged in false advertising;

           n. Whether Defendant unjustly enriched itself at consumers’ expense;

           o. Whether Plaintiffs and the Class are entitled to actual, statutory, and treble
              damages; and

           p. Whether Plaintiffs and the Class are entitled to declaratory and injunctive relief.

       165.    Typicality (Rule 23(a)(3)): The claims of the representative Plaintiffs are typical of

the claims of members of the Class, in that the representative Plaintiffs, like all members of the

Class, purchased the Waterproof Mascara Products from Defendant without knowing that it

contained detectable levels of PFAS and, if Plaintiffs, like all members of the Class, had known

that information, she would not have purchased the products or would have paid less for them.

Thus, the representative Plaintiffs, like all members of the Class, have suffered a common injury.

The factual basis of Defendant’s misconduct is common to all members of the Class.

       166.    Adequacy (Rule 23(a)(4)): Plaintiffs will fairly and adequately represent and

protect the interests of the Class. Plaintiffs have retained counsel with substantial experience in
prosecuting consumer class actions, including actions involving mislabeling and false advertising,

product liability, and violation of consumer protection statutes. Plaintiffs and their counsel are


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committed to vigorously prosecuting this action on behalf of the Class and have the financial

resources to do so. Neither Plaintiffs nor their counsel have any interests adverse to those of the

Class.

         167.   Predominance of Common Questions (Rule 23(b)(3)): Common questions of law

and fact predominate over any questions involving individualized analysis. There are no

fundamental questions of fact or law that are not common to members of the Class. The

undisclosed presence of PFAS in the Waterproof Cosmetics Products is a common question, as is

the Defendant’s knowledge regarding the presence of detectable levels of PFAS in its Waterproof

Mascara Products and Defendant’s unform omission to members of the Class of this material fact.

Common questions of law include whether Defendant’s conduct violates state consumer protection

statutes and other laws, and the Class members’ entitlement to damages and remedies.

         168.   Superiority (Rule 23(b)(3)): Plaintiffs and members of the Class have suffered and

will continue to suffer harm and damages as a result of Defendant’s unlawful and wrongful

conduct. A class action is superior to other available methods for the fair and efficient adjudication

of the subject controversy. Most members of the Class likely would find the cost of litigating their

individual claims to be prohibitive and will have no adequate remedy at law. Thus, absent a class

action, members of the Class will continue to incur damages and Defendant’s misconduct will

proceed without remedy. Class treatment of common questions of fact and law is superior to

multiple individual actions or piecemeal litigation because it will conserve the resources of the

courts and the litigants and promote consistency and efficiency of adjudication. There is no

impediment to the management of this action as a class action because the questions of fact and

law are virtually identical for Plaintiffs and all Class members.

         169.   Injunctive Relief (Rule 23(b)(2)): Defendant has engaged in, and continues to

engage in, business practices which are unfair and fraudulent by, among other things, failing to

disclose the material fact that the Waterproof Mascara Products contain detectable levels of PFAS.

Plaintiffs seek class-wide injunctive relief on grounds consistent with the standards articulated in
Rule 23(b)(2) that establish final injunctive relief as an appropriate class-wide remedy, in that



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Defendant continues to manufacture, market, and sell the Waterproof Mascara Products and omit

material facts. The injuries suffered by Plaintiffs and the Class as a result of Defendant’s actions

are ongoing.

                                     CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION

           Violations of New York Consumer Law for Deceptive Acts and Practices
                                    N.Y. Gen. Bus. Law § 349
                       (On Behalf of Plaintiffs and the Nationwide Class
                         or, in the Alternative, the New York Subclass)

       170.    Plaintiffs incorporate by reference all preceding allegations contained in this

Complaint.

       171.    New York General Business Law (“NYGBL”) § 349 prohibits deceptive acts or

practices in the conduct of any business, trade, or commerce, or in the furnishing of any service in

the state of New York.

       172.    By reason of the conduct alleged herein, Defendant engaged in unlawful practices

within the meaning of the NYGBL § 349. The conduct alleged herein is a “business practice”

within the meaning of the NYGBL § 349, and the deception occurred and originated in part within

New York State.

       173.    Defendant’s Waterproof Mascara Products contains and/or has a material risk of

containing PFAS—a fact it omitted to disclose—and Defendant misrepresented that its Products

were safe for use on eyes. Defendant knew or should have known that its Waterproof Mascara

Products should not contain PFAS and that by manufacturing and providing for commercial sale

Waterproof Mascara Products containing and/or having a material risk of containing PFAS,

Plaintiffs and Class members were not getting safe products to use on a sensitive part of the face,

the eye.

       174.    Plaintiffs and Class members would not have purchased the Waterproof Mascara

Products at issue had they known the truth about the presence of PFAS. There is no other use for




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Defendant’s tainted Waterproof Mascara Products.

       175.    Defendant violated the NYGBL § 349 by designing, manufacturing, and selling

Waterproof Mascara Products containing and/or having a material risk of containing PFAS and by

failing to properly represent, both by affirmative conduct and by omission, the actual contents of

its Waterproof Mascara Products.

       176.    If Defendant had not sold Waterproof Mascara Products containing and/or having

a material risk of containing PFAS, Plaintiffs and Class members would not have suffered the

extent of damages caused by Defendant’s sales.

       177.    Defendant’s practices, acts, policies, and course of conduct violate NYGBL § 349

in that, among others things, Defendant actively and knowingly misrepresented or omitted

disclosure of material information to Plaintiffs and Class members at the time they purchased the

Waterproof Mascara Products, including the fact that Defendant’s Products contained PFAS, and

that Defendant failed to disclose and give timely warnings or notices regarding the presence of

PFAS in its Products that were purchased by Plaintiffs and Class members.

       178.    The conduct alleged herein constitutes an unconscionable business practice in that

Defendant has, by the use of false statements and/or material omissions, failed to properly

represent and/or concealed the presence of detectable levels of PFAS in its Waterproof Mascara

Products.

       179.    Members of the public, including Plaintiffs and Class members, were deceived by

and relied upon Defendant’s affirmative misrepresentations and failures to disclose.

       180.    Such acts and practices by Defendant are and were likely to mislead a reasonable

consumer purchasing Waterproof Mascara Products. Said acts and practices are material. The sales

of Defendant’s Waterproof Mascara Products in New York, through such means occurring in New

York, were consumer-oriented acts and thereby fall under the New York consumer protection

statute, NYGBL § 349.

       181.    To this day, Defendant continues to engage in unlawful practices in violation of the
NYGBL § 349. Defendant continues to conceal the defective and harmful nature of the Waterproof



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Mascara Products and have failed to disclose, on inquiry from Plaintiffs and Class Members, the

true nature of the Waterproof Mascara Products, including that they contain and/or has a material

risk of containing PFAS.

       182.   As a direct and proximate cause of Defendant’s conduct, Plaintiffs and Class

members suffered actual damages as alleged above.

       183.   In addition to or in lieu of actual damages, because of the injury, Plaintiffs and the

Class members seek statutory and treble damages for each injury and violation which has occurred.

       184.   Plaintiffs also seek injunctive relief for Defendant to refrain from the continued

advertising of Waterproof Mascara Products that omits material facts, including that the

Waterproof Mascara Products contain and/or have a material risk of containing PFAS. Plaintiffs

further seek injunctive relief forcing Defendant to replace all Waterproof Mascara Products for

Class Members with a non-toxic mascara.

                               SECOND CAUSE OF ACTION

          Violations of New York Consumer Law for Deceptive Acts and Practices
                                       (False Advertising)
                                   N.Y. Gen. Bus. Law § 350
                      (On Behalf of Plaintiffs and the Nationwide Class
                        or, in the Alternative, the New York Subclass)

       185.   Plaintiffs incorporate by reference all preceding allegations contained in this

Complaint.
       186.   NYGBL § 350 prohibits false advertising in the conduct of any business, trade, or

commerce, or in the furnishing of any service in the State of New York.

       187.   By reason of the conduct alleged herein, Defendant engaged in material and

misleading labeling and advertising of its Waterproof Mascara Products by statements and

omission within the meaning of the NYGBL § 350. The false advertising occurred in part within

New York State.

       188.   Defendant’s Waterproof Mascara Products contains and/or has a material risk of
containing PFAS—a fact it omitted to disclose—and Defendant misrepresented that its Products




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were safe for use on eyes. Defendant knew or should have known that its Waterproof Mascara

Products should not contain PFAS and that by manufacturing and providing for commercial sale

Waterproof Mascara Products containing and/or having a material risk of containing PFAS,

Plaintiffs and Class members were not getting safe products to use on a sensitive part of the face,

the eye.

       189.    Plaintiffs and Class members would not have purchased the Waterproof Mascara

Products at issue had they known the truth about the presence of PFAS. There is no other use for

Defendant’s tainted Products.

       190.    Defendant violated the NYGBL § 350 by designing, manufacturing, marketing, and

selling Waterproof Mascara Products containing and/or having a material risk of containing PFAS

and failing to properly represent, both by affirmative conduct and by omission, the actual contents

of its Waterproof Mascara Products.

       191.    If Defendant had not sold Waterproof Mascara Products containing and/or having

a material risk of containing PFAS, Plaintiffs and Class members would not have suffered the

extent of damages caused by Defendant’s sales.

       192.    Defendant’s advertisements and labels for its Waterproof Mascara Products violate

NYGBL § 350 in that, among others things, Defendant actively and knowingly misrepresented or

omitted disclosure of material information, including the fact that Defendant’s Products contained

PFAS, on the labels and advertisements, knowing that Plaintiffs and Class members would see and

rely on the labels at the time they purchased the Waterproof Mascara Products, and that Defendant

failed to disclose and give timely warnings or notices regarding the presence of PFAS in its

Waterproof Mascara Products that were purchased by Plaintiffs and Class members.

       193.    The conduct alleged herein constitutes an unconscionable business practice in that

Defendant has, by the use of false statements and/or material omissions in its labels and

advertisements, failed to properly represent and/or concealed the presence of detectable levels of

PFAS in its Waterproof Mascara Products.
       194.    Members of the public, including Plaintiffs and Class members, were deceived by



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and relied upon Defendant’s affirmative misrepresentations and failures to disclose.

       195.    Such material and misleading advertisements and labels designed and disseminated

by Defendant are and were likely to mislead a reasonable consumer purchasing Waterproof

Mascara Products. The sales of Defendant’s Waterproof Mascara Products in New York, through

such means occurring in New York, were consumer-oriented acts and thereby fall under the New

York consumer protection statute, NYGBL § 350.

       196.    To this day, Defendant continues to engage in unlawful misleading advertising in

violation of the NYGBL § 350. Defendant continues to conceal the defective nature of the

Waterproof Mascara Products and has failed to disclose, on inquiry from Plaintiffs and Class

Members, the true nature of the Waterproof Mascara Products, including that it contains and/or

has a material risk of containing PFAS.

       197.    As a direct and proximate cause of Defendant’s conduct, Plaintiffs and Class

members suffered actual damages as alleged above.

       198.    In addition to or in lieu of actual damages, because of the injury, Plaintiffs and the

Class members seek statutory and treble damages for each injury and violation which has occurred.

       199.    Plaintiffs also seek injunctive relief for Defendant to refrain from the continued

advertising of Waterproof Mascara Products that omits and misrepresents material facts, including

that the Waterproof Mascara Products contain and/or have a material risk of containing PFAS.

Plaintiffs further seek injunctive relief forcing Defendant to replace all Waterproof Mascara

Products for Class Members.

                                 THIRD CAUSE OF ACTION

                                 Breach of Express Warranty
                      (On Behalf of Plaintiffs and the Nationwide Class
                       or, in the Alternative, the New York Subclass)

       200.    Plaintiffs incorporate by reference all preceding allegations contained in this

Complaint.

       201.    In connection with its sale of Waterproof Mascara Products, by and through
statements in labels, packaging, and ingredient lists, and other written materials intended for


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consumers and the general public, Defendant made certain express affirmations of fact and/or

promises relating to its Waterproof Mascara Products to Plaintiffs and the Class, as alleged herein,

including that such Waterproof Mascara Products were safe to use on eyes and fit to be used for

their intended purpose. These express affirmations of fact and/or promises include ingredient lists

and labels that purport to attest to the safety of the Products but fail to include that the Waterproof

Mascara Products contained and/or had a material risk of containing PFAS.

       202.     Defendant advertised, labeled, marketed, and promoted the Waterproof Mascara

Products with such express affirmations of fact and/or promises in such a way as to induce

Plaintiffs and Class Members to purchase and use the Waterproof Mascara Products, thereby

making an express warranty that the Waterproof Mascara Products would conform to the

representations of being safe.

       203.    Defendant’s affirmations of fact and/or promises about the Waterproof Mascara

Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

buyer, which related to the goods and became part of the basis of the bargain.

       204.    Despite the express warranties Defendant created with respect to the Waterproof

Mascara Products, Defendant delivered Waterproof Mascara Products to Plaintiffs and the Class

that did not conform to Defendant’s express warranties in that such Waterproof Mascara Products

were defective, dangerous, and unfit for use, did not contain labels adequately representing the

nature of the risks associated with their use, and were not merchantable or safe for their intended,

ordinary, and foreseeable use and purpose. Specifically, Defendant breached the express

warranties by representing through its labeling, advertising, and marketing materials that its

Waterproof Mascara Products were safe, and intentionally withheld information about the contents

containing detectable levels of PFAS and the risks associated with use of the carcinogenic Products

on the eyes.

       205.    Plaintiffs and Class members relied on Defendant’s express promises and

representations that the Waterproof Mascara Products were safe to use on eyes and fit to be used




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for their intended purpose as contained on the labels, packaging, and ingredient lists.

       206.    Defendant had sole access to material facts concerning the contents of its

Waterproof Mascara Products and the nature of the risks associated with the use of the Products,

as Defendant expressly stated on their labels the safety of the Products, and knew that consumers

and purchasers, such as Plaintiffs and Class members, could not have reasonably discovered that

the statements expressly included in Waterproof Mascara Products’ labels were inadequate and

inaccurate.

       207.    Plaintiffs and each member of the Class have had sufficient direct dealings with

Defendant or its agents (including distributors, dealers, and authorized sellers) to establish privity

of contract between Defendant and Plaintiffs and each member of the Class.

       208.    As a direct and proximate result of Defendant’s breaches of express warranties, as

alleged herein, Plaintiffs and the Class sustained economic loss in an amount to be proven at trial.

The Waterproof Mascara Products contained and/or had a material risk of containing dangerous

PFAS, which will require Plaintiffs and Class Members to incur costs to prematurely replace the

product and costs to discontinue use of the product before its expiration.

       209.    As a result of Defendant’s breaches of express warranties, as alleged herein,

Plaintiffs and the Class seek an order awarding compensatory damages and any other just and

proper relief available under the law.

                                FOURTH CAUSE OF ACTION

                                  Breach of Implied Warranty
                       (On Behalf of Plaintiffs and the Nationwide Class
                        or, in the Alternative, the New York Subclass)

       210.    Plaintiffs incorporate by reference all preceding allegations contained in this

Complaint.

       211.    At all relevant times, Defendant was a merchant of Waterproof Mascara Products

that were sold to Plaintiffs and Class members and was in the business of marketing, promoting,

and selling such Products to the consuming public. Defendant designed, developed, and sold the




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Waterproof Mascara Products knowing that Plaintiffs and Class members would use it.

       212.    Each Waterproof Mascara Product sold by Defendant comes with an implied

warranty that it will be merchantable and fit for the ordinary purpose for which it would be used.

Defendant expected the consuming public, including Plaintiffs and Class members, to use the

Waterproof Mascara Products and such use was reasonably foreseeable. And Plaintiffs and Class

members expected the Waterproof Mascara Products to be useable and to perform in a manner

consistent with their packaging and labeling.

       213.    Defendant breached its implied warranty of merchantability because its Waterproof

Mascara Products were not in merchantable condition when sold because they contain or have a

material risk of containing dangerous PFAS.

       214.    Defendant’s Waterproof Mascara Products are not fit for the ordinary purpose for

which they were sold because they contain or have a material risk of containing dangerous PFAS.

       215.    Defendant did not properly disclaim the warranty of merchantability and fitness for

a particular purpose.

       216.    Plaintiffs and Class members were injured as a direct and proximate result of

Defendant’s breaches of implied warranties of merchantability. Plaintiffs and members of the

Class were damaged as a result of Defendant’s breaches of implied warranties of merchantability

because, had they been aware of the unmerchantable condition of the Waterproof Mascara

Products, they would not have purchased such Products.

       217.    As a result of Defendant’s breaches of implied warranties of merchantability, as

alleged herein, Plaintiffs and the Class seek an order awarding compensatory damages and any

other just and proper relief available under the law.

                                  FIFTH CAUSE OF ACTION

                                        Unjust Enrichment
                        (On Behalf of Plaintiffs and the Nationwide Class
                         or, in the Alternative, the New York Subclass)

       218.    Plaintiffs incorporate by reference all preceding allegations contained in this




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Complaint.

       219.    As the intended and expected result of its conscious wrongdoing alleged herein,

Defendant has profited and benefited from Plaintiffs’ and Class members’ purchases of the

Waterproof Mascara Products. Plaintiffs’ and Class members’ payments for the Waterproof

Mascara Products flowed to Defendant.

       220.    Defendant voluntarily accepted and retained these profits and benefits derived from

Plaintiffs and the Class, with full knowledge and awareness that, as a result of its misconduct,

Plaintiffs and the Class were not receiving products of the quality, nature, fitness, or value that had

been represented by Defendant and that Plaintiffs and the Class, as reasonable consumers, expected

for a product applied to the eye.

       221.    If Plaintiffs and Class members knew the Defendant’s Waterproof Mascara

Products were not safe and contained PFAS as alleged herein, they would not have purchased

Defendant’s Waterproof Mascara Products.

       222.    Defendant has been unjustly enriched by its fraudulent and deceptive withholding

of benefits to its customers at the expense of Plaintiffs and the Class.

       223.    Defendant profited from Plaintiffs’ purchases and used Plaintiffs and Class

members’ monetary payments for business purposes. Defendant’s retention of these profits and

benefits is inequitable and against good conscience. Principles of equity and good conscience

preclude Defendant from retaining these profits and benefits.

       224.    As a direct and proximate result of Defendant’s unjust enrichment, Plaintiffs and

the Class suffered injury and seek the disgorgement and restitution of Defendant’s wrongful

profits, revenue, and benefits, plus interest, to the extent and in the amount deemed appropriate by

the Court, and such other relief as the Court deems just and proper to remedy Defendant’s unjust

enrichment.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that the Court enter judgment against Defendant and in favor
of Plaintiffs, and to award the following relief:



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   a) Certification of the Class with Plaintiffs appointed as class representatives and the

      undersigned appointed as Class Counsel;

   b) Find that Defendant engaged in the unlawful conduct as alleged herein and enjoin

      Defendant from engaging in such conduct;

   c) Enter a monetary judgment in favor of Plaintiffs and the Class to compensate them for the

      injuries suffered, together with pre-judgment and post-judgment interest, punitive

      damages, and penalties where appropriate;

   d) Injunctive relief requiring Defendant to replace all Waterproof Mascara Products owned by

      the Class, and enjoining Defendant from continuing to mislabel Waterproof Mascara

      Products and require Defendant to disclose the true nature of the Waterproof Mascara

      Products, including that they contain and/or have a material risk of containing PFAS;

   e) A declaration that Defendant must disgorge, for the benefit of the Class, all or part of its ill-

      gotten profits received from the sale of the Waterproof Mascara Products;

   f) An award of all actual, general, special, incidental, statutory, treble, or other multiple,

      punitive and consequential damages under statutory and common law as alleged in this

      Complaint, in an amount to be determined at trial;

   g) Award Plaintiffs and the Class reasonable attorneys’ fees and costs of suit, as allowed by

      law; and

   h) Award such other and further relief as this Court may deem just and proper.

                                  JURY TRIAL DEMANDED

      Plaintiffs hereby demand a trial by jury.



Dated: March 9, 2022                          Respectfully submitted,



                                                /s/ James Bilsborrow

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